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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



 MCOM IP, LLC,
            Plaintiff,

 V.                                                         CIVIL ACTION NO.
                                                            1:23-CV-02145-LMM
 BACKBASE U.S.A. INC.,
     JURY TRIAL DEMANDED
             Defendant



                        CERTIFICATE OF INTERESTED PARTIES

        Pursuant to Fed. R. Civ. P. 7.1, Plaintiff MCOM IP LLC, (“mCom”) discloses that it has

no parent corporation, and there is no publicly held corporation that owns 10% or more of any

stock. Plaintiff shows as follows:

        A complete list of all persons, associations of persons, firms, partnerships, corporations,

guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are

financially interested in the outcome of the case:

      1. MCOM IP, LLC

      2. Ramey LLP

        DATED: August 29, 2023                          Respectfully submitted,

                                                        Ramey LLP

                                                     By: /s/ William P. Ramey, III
                                                        William P. Ramey, III (admitted PHV)
                                                        Texas Bar No. 24027643
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                                                      wramey@rameyfirm.com

                                                      Attorneys for mCom IP, LLC




                                CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and LR3.3, I hereby certify that all counsel

of record who have appeared in this case are being served on this day of August 29, 2023, with a

copy of the foregoing via email and ECF filing.

                                                      /s/ William P. Ramey, III
                                                      William P. Ramey, III (admitted PHV)




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